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        IN THE UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )
                                       )
v.                                     )      Case No. M-24-760-SM
                                       )
NASIR AHMAD TAWHEDI,                   )
                                       )
                  Defendant.           )

                                   ORDER

      In accordance with the Due Process Protections Act,1 the Court reminds

counsel of the disclosure obligation of the prosecutor under Brady v. Maryland,

373 U.S. 83 (1963), and its progeny. In particular, “the suppression by the

prosecution of evidence favorable to an accused upon request violates due

process where the evidence is material either to guilt or to punishment,

irrespective of the good faith or bad faith of the prosecution.”2 “[E]vidence is

‘material’ within the meaning of Brady when there is a reasonable probability


1
      The Due Process Protections Act, PL 116-182, [S 1380], effective October
21, 2020, requires that the parties be informed regarding an amendment to
Federal Rule of Criminal Procedure 5. By this legislation, subsection (f) of the
Rule has been redesignated as subsection (g), with new subsection (f)
hereinafter    designated     as   “REMINDER        OF     PROSECUTORIAL
OBLIGATION.” The amendment serves to remind prosecutors of their
obligations to disclose exculpatory evidence pursuant to Brady v. Maryland,
373 U.S. 83 (1963).

2     Brady, 373 U.S. at 87.
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that, had the evidence been disclosed, the result of the proceeding would have

been different.”3 A “reasonable probability” does not mean that the defendant

“would more likely than not have received a different verdict with the

evidence,” only that the likelihood of a different result is great enough to

“undermine[ ] confidence in the outcome of the trial.”4

      Possible consequences for a violation of this Order may include, but are

not limited to, exclusion of evidence at trial, a finding of contempt, granting of

a continuance, and dismissal of the charges with prejudice.

      Having given counsel the oral admonition required by the Due Process

Protections Act, this Order serves as the reminder of prosecutorial obligation

and duties in accordance with Rule 5(f).

      ENTERED on October 8, 2024.




3     Cone v. Bell, 556 U.S. 449, 469–470 (2009).

4     Smith v. Cain, 565 U.S. 73, 75 (2012).


                                        2
